Case 1:25-cv-00542-RJJ-PJG

JS 44 (Rev. 03/24)

ECF No. 1-5, PagelD.43
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet, (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM)

I. (a) PLAINTIFFS DEFENDANTS

Filed 05/09/25 Page lof1

Arthur L. Been, Jr., HON. ANGELA PASULA, et al.,

(b) County of Residence of First Listed Plaintiff Wan Buren
(EXCEPT IN US. PLAINTIFF CASES)

County of Residence of First Listed Defendant Berrien County
(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

THE TRACT OF LAND INVOLVED

NOTE:

(c) Attomeys (Firm Name, Address, and Telephone Number) Attormeys (/f Known)

Arthur L. Been Jr., Pro Se, 34871 28th Ave, Paw Paw, MI

49079 (405)-906-9999, artb@hamptonlaw.net

II. BASIS OF JURISDICTION (iace an“ in One Box Only)

U.S. Government

Plaintiff

C)!

>

U.S, Government
Defendant

0

[x]3 Federal Question

(OLS. Government Not a Party)

C4 Diversity

(Indicate CittzensIup of Parties in ftem ILI)

(For Diversity Cases Only)

PTF

[x] 1

Citizen of This State

Cinzen of Another State

Citizen or Subject of a
Foreign Country

O? O
O3 O

IN. CITIZENSHIP OF PRINCIPAL PARTIES (Piace an “x” in One Box for Plainuft

and One Box for Defendant)

DEF

[x] 1

Incorporated or Pri

PTF DEF

O+ O84

ncipal Place

of Business In This State

Incorporated and Pnncipal Place

Os O:

of Business In Another State

Foreign Nation

Oe Os

IV. NATU RE OF SUIT {Place an “XN” in One Bax Only)

Click here for: Nature of S
eo at Ree

[ CONTRACT

TORTS

FORFEITURE/PENALTY

110 Insurance
120 Marine
130 Miller Act
140 Negotiable Instrument
130 Recovery of Overpayment
& Enforcement of Judgment
4 ISI Medicare Act
152 Recovery of Defaulted
Student Loans
(Excludes Veterans)
CJ 153 Recovery of Overpayment
of Veteran's Benefits
|_| 160 Stockholders’ Suits
190 Other Contract
195 Contract Product Liability
196 Franchise

PERSONAL INJURY PERSONAL INJURY
310 Airplane [_] 365 Personal Injury -
315 Airplane Product Product Liability

H

Liability (_] 367 Health Care
5 320 Assault, Libel & Pharmaceutical
Slander Personal Injury

Product Liability
368 Asbestos Personal
Injury Product
Liability
PERSONAL PROPERTY
370 Other Fraud
371 Truth in Lending
[J 380 Other Personal
Property Damage
oO 385 Property Damage
Product Liability

7 330 Federal Employers’
Liability
340 Marine
345 Marine Product
Liability
350 Motor Vehicle
355 Motor Vehicle
Product Liability
|] 360 Other Personal
Injury
362 Personal Injury -
Medical Malpractice

BANKRUPTCY

it Code Descriptions.

| 1625 Drug Related Seizure
of Property 21 USC 881
| _]690 Other

422 Appeal 28 USC 158
423 Withdrawal
28 USC 157

___ OTHER STATUTES |

376 Qui Tam (31 USC
372%a))

H

_PROPERTY RIGHTS —__

400 State Reapportionment

375 False Claims Act
=| 410 Antitrust

820 Copynghts

$30 Patent

835 Patent - Abbreviated
New Drug Application

840 Trademark

710 Fair Labor Standards
Act
| 720 Labor/Management

Relations
740 Railway Labor Act
751 Family and Medical

Leave Act

| 790 Other Labor Litigation

210 Land Condemnation
220 Foreclosure

230 Rent Lease & Ejectment
240 Torts to Land

245 Tort Product Liability
290 All Other Real Property

LITT TI

«| 440 Other Civil Rights
441 Voting
442 Employment
443 Housing!
Accommodations
)] 445 Amer. w/Disabilities -

463 Alien Detainee

Habeas Corpus:
- 510 Motions to Vacate
Sentence
| | 330 General
| | 535 Death Penalty

| j791 Employee Retirement
Income Secunty Act

880 Defend Trade Secrets
Act of 2016

861 HIA (1395ff)

862 Black Lung (923)
863 DIWC/DIWW (405(g))
864 SSID Title XVI

865 RSI (405(p))

ALTA
[| 870 Taxes (U.S, Plaintiff
or Defendant)

[| 871 IRS—Third Party

26 USC 7609

Other:

540 Mandamus & Other

§50 Civil Rights

$55 Prison Condition

360 Civil Detainee -
Conditions of
Confinement

Employment

_] 446 Amer. w/Disabilities -
Other

| 448 Education

462 Naturalization Application
465 Other Immigration
Actions

430 Banks and Banking

450 Commerce

460 Deportation

470 Racketeer Influenced and
Corrupt Organizations

| 480 Consumer Credit

(15 USC 1681 or 1692)
J 485 Telephone Consumer
Protection Act
490 Cable/Sat TV
S 850 Securities/Commodities!
Exchange
|_| 890 Other Statutory Actions
891 Agricultural Acts
| 893 Environmental Matters
895 Freedom of Information
Act
- 896 Arbitration
899 Administrative Procedure
Act/Review or Appeal of
Agency Decision
|] 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “x° wr

1 Original
E) Proceeding

Cc? Removed from
State Court

1 One Box Only)
Remanded from
Appellate Court

a
3

oO Reinstated or CO 5 Transferred from
Another District

(specify)

Reopened

6 Multidistri

Transfer

Litigation -

8 Multidistrict
Litigation -
Direct File

cl

VI. CAUSE OF ACTION

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes untess diversity):

Brief description of cause:

Request to enjoin Defendants and enforce a Court Order from the E.D. of Michigan, 2:22-cv-10209-MAG-CI, HON. MARK A. GOLDSMITH

VIL. REQUESTED IN

[] CHECK IF THIS IS A CLASS ACTION

DEMANDS

CHECK YES only if demanded in complaint:

COMPLAINT: UNDER RULE 23, F.R-Cv.P JURY DEMAND: [k]lYes [No
VII. RELATED CASE(S)
IF ANY Goatees JUDGI RK A, GOLDSMIT DOCKET NUMBER 2:22-cv-10209-MAG-CI
iE ARK A, GOLDSMITH "KET IR 2:22-cv-10209-MAG-Cl,
Af, g ee
DATE z SIGMATFARE OF ATTORNEY
May 9, 2025 tht =

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG, JUDGE

